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                                                                             January 11, 2021

           Honorable Cathy Seibel
           United States District Judge
           United States District Courthouse
           Southern District of New York
           300 Quarropas Street
           White Plains, NY 10601
            BY ECF and Email/PDF
                              Re:        USA v. Abigail Baez, 19 Cr. 271(CS)
                                         Request for Adjournment of Sentence

           Dear Judge Seibel:
                   I am assigned to represent Ms. Baez pursuant to CJA. A Sentencing Hearing is
            currently scheduled for Monday, January 25, 2021 at 11:00 am. I write to request an
            adjournment of sentence of 6 weeks due to my awaiting additional documents necessary for
            the defendant's sentencing submission. AUSA Sam Raymond consents to this application.


                     Thank you, Your Honor, for your consideration of this matter.
Sentencing adjourned to
March 17, 2021 at 3:30                                                       Very truly yours,
p.m.




                         1/11/2021



            cc: AUSA Sam Raymond (By ECF and Email/PDF)
